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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


RICHARD LORA MOSQUETE,

                                       Plaintiff,                       24 Civ. 1591 (PAE)
                        -v-
                                                                       NOTICE OF INITIAL
 CITY OF NEW YORK et al.,                                              PRETRIAL
                                                                       CONFERENCE
                                       Defendants.



PAUL A. ENGELMAYER, District Judge:

       An initial pretrial conference is hereby scheduled for June 9, 2025 at 3:00 p.m. This

conference will be held telephonically. The parties should call into the Court’s dedicated

conference line at (855) 244-8681, and enter Access Code 2318-315-0661, followed by the

pound (#) key. Counsel are directed to review the Court’s Emergency Individual Rules and

Practices in Light of COVID-19, found at https://nysd.uscourts.gov/hon-paul-engelmayer, for

the Court’s procedures for telephonic conferences and for instructions for communicating with

chambers.

       All conferences with the Court are scheduled for a specific time; there is no other matter

scheduled for that time, and counsel are directed to appear promptly. All pretrial conferences

must be attended by the attorney who will serve as principal trial counsel.

       The Court directs counsel for all parties to:
            §   Confer with each other prior to the conference regarding settlement and each of
                the other subjects to be considered at a Federal Rule of Civil Procedure 16
                conference.
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           §   Prepare a Civil Case Management Plan and Scheduling Order in accordance with
               the Court’s Individual Rules, available at

               https://nysd.uscourts.gov/hon-paul-engelmayer, to be submitted to the Court no
               later than June 4, 2025.
           §   Prepare a joint letter, not to exceed three pages in length, to be submitted to the
               Court no later than June 4, 2025, addressing the following topics in separate
               paragraphs: (1) a brief description of the case, including the factual and legal
               bases for the claim(s) and defense(s), and the history of the case; (2) any
               contemplated motions; and (3) the prospect for settlement. For the Court’s
               convenience, the parties are requested to set forth the date and time of the
               conference in the opening paragraph of the letter.
           §   Register as filing users in accordance with the Procedures for Electronic Case
               Filing prior to the date of the initial pretrial conference.
           §   Email to EngelmayerNYSDChambers@nysd.uscourts.gov, no later than twenty-
               four hours before the conference, the names of any counsel who wish to enter an
               appearance at the conference, and the number from which each counsel will be
               calling. Please also denote lead counsel with an asterisk.
       If this case has been settled or otherwise terminated, counsel are not required to appear,
provided that a stipulation of discontinuance, voluntary dismissal, or other proof of termination
is sent prior to the date of the conference via e-mail to the Orders and Judgment Clerk at the
following e-mail address: orders_and_judgments@nysd.uscourts.gov.
       Requests for adjournment may be made only in a writing received no later than two
business days before the conference. The written submission must comply with Section 1.E of
the Court’s Individual Rules. Unless counsel are notified that the conference has been
adjourned, it will be held as scheduled.
       Plaintiff’s counsel is directed (1) to serve a copy of this order upon all attorneys in this
action, and (2) to file proof of such notice with the Court. If plaintiff’s counsel is unaware of the

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identity of counsel for any of the parties, plaintiff’s counsel must forthwith send a copy of this
order to that party personally.


       SO ORDERED.


                                                              PaJA.�
                                                              ______________________________
                                                              PAUL A. ENGELMAYER
                                                              United States District Judge
Dated: April 29, 2025
       New York, New York




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